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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

 THE BOARD OF TRUSTEES OF THE
 UNIVERSITY OF ILLINOIS,

                       Plaintiff,

           v.                                           Case No.

 VINTAGE BRAND, LLC,

                       Defendant.

                                         COMPLAINT

         NOW COMES Plaintiff, THE BOARD OF TRUSTEES OF THE UNIVERSITY

OF ILLINOIS ("Plaintiff," "Illinois," "the University" or "the University of Illinois"),

by and through its attorneys, Freeborn 8s Peters, LLP, and for its Complaint

against Defendant, Vintage Brand, LLC, ("Vintage" or "Defendant"), states as

follows:

                                          SUMMARY

         1.        Plaintiff, the Board of Trustees of the University of Illinois, is a body

politic and corporate established under the constitution and laws of the State of

Illinois, to govern and exercise authority over its system of universities, including

the University of Illinois Urbana-Champaign, which is located in Urbana, Illinois.

         2.       Illinois brings this lawsuit to protect the substantial goodwill that

the University has developed in its trademarks and trade dress and to stop

Vintage's scheme of unfair competition that is being waged through online sales

of infringing goods that are undermining and injuring the University's rights and

reputation.




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         3.        Vintage's unlawful scheme includes Vintage's infringing use of the

University's trademarks and trade dress on goods Vintage sells in competition

with the University and without a license.

         4.        In this action, the University seeks to enjoin Vintage from using the

University's trademarks and trade dress and to obtain damages form Vintage's

illicit conduct, and to obtain appropriate declaratory relief.

         5.        Unless Vintage is enjoined from infringing on the University's

intellectual property, Vintage's unauthorized use will continue to cause

consumer confusion and irreparably harm the University.

                                   JURISDICTION AND VENUE

         6.        Plaintiff's claims are for trademark infringement arising under the

Lanham Act 15 U.S.C. X1114, et seq., false designation and unfair competition

arising under the Lanham Act, 15 U.S.C. ~ 1125, et seq., counterfeiting under

Lanham Act ~ 35, 15 U.S.C. ~ 1117(b) and (c), trademark dilution under the

Lanham Act, 15 U.S.C. ~ 1125 (c), unfair or deceptive acts under the Illinois

Uniform Deceptive Trade Practice Act, 815 ILCS 505, et seq., unfair competition

under common law, and trademark dilution under 765 ILCS 1036/65.

         7.       The Court has original subject matter jurisdiction over the federal

law claims pursuant to 28 U.S.C. ~~ 1331, 1338, 2201 and 2202, 15 U.S.C.

X1121, and Fed. R. Civ. P. 13. The Court has supplemental jurisdiction over the

state law claims pursuant to 28 U.S.C. ~ 1367(a) and Fed. R. Civ. P. 13 because

those claims are so related to Plaintiffs' claims that they form part of the same

case or controversy and derive from a common nucleus of facts.




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         8.       The Court has personal jurisdiction over the Defendant because, on

information and belief, Defendant carries on substantial and continuous

business activities in the State of Illinois and throughout the country through

its interactive e-commerce websites which target consumers nationwide and

specifically in this judicial district. Upon information and belief, Defendant has

sold and delivered products to residents in this District and targets Internet

marketing campaigns that display advertisements and links to consumers in this

judicial district, seeking to entice consumers to access its websites and buy

Defendant's infringing and misleading products. Particular to the University's

claims, Vintage's website also features goods with the University's name, color

schemes, and/or logos, all of which are marks protected by the common law

and/or federal registrations. For its part, the University operates throughout the

State of Illinois, including within this judicial district.

         9.       Venue in this Court is proper pursuant to 28 U._S.C. ~ 1391 because

a substantial part of the events or omissions giving rise to the claims occurred

in this judicial district and because Defendant is subject to personal jurisdiction

in this judicial district.

                                      THE PARTIES

         10.      The University is a body politic and corporate established under the

constitution and laws of the State of Illinois, to govern and exercise authority

over the University of Illinois Urbana-Champaign, located in Urbana, Illinois,

among other universities.




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         11.      Upon information and belief, Defendant Vintage is a limited liability

company organized under the laws of the State of Washington and it maintains

a principal place of business in Seattle, Washington. Upon information and

belief, Vintage's primary business is selling apparel nationally, over the Internet,

using a fully interactive e-commerce site that processes transactions nationally

and with customers located in the State of Illinois.

                             THE UNIVERSITY OF ILLINOIS

         12.      Since its founding in 1867, the University of Illinois Urbana-

Champaign has earned a reputation as a world-class leader in research,

teaching, and public engagement and is a highly respected institution of higher

learning. It is home to over 51,000 students, including students from all 50

states and over 100 countries, and it offers nearly 5,000 courses in more than

150 fields of study, awarding about 7,000 new degrees each spring.

         13.      The University of Illinois Urbana-Champaign's 21 Division I men's

and women's sports teams are admired by fans all over the United States and

around the world, and the teams have long and storied athletics history with rich

tradition. From the start of the Illini baseball team in 1879, to the formation of

the UI Athletic Association in 1890, as a charter member of the Big Ten

Conference in 1896 and as a charter member of the National Collegiate Athletic

Association ("NCAA") in 1906, Illinois has been a national leader in collegiate

athletics. Illinois' Fighting Illini teams have won 18 NCAA Championships, five

football national championships and 248 Big Ten titles, the second-most in

conference history. Illinois has advanced to five NCAA Men's Basketball Final



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Fours. University of Illinois Urbana-Champaign alumni athletes have won 31

Olympic medals while competing for 17 countries in 25 Olympic Games.

          14.      Illinois participates in collegiate athletic competition at the very

highest level. It is, and has been since the conference's inception in 1896, part

of the Big Ten Conference ("Big Ten"). The Big Ten is one of the "Power Five"

conferences along with the Atlantic Coast Conference, the Big 12 Conference,

the Pac-12 Conference, and the Southeastern Conference, which means that the

participants in those conferences compete at the pinnacle of collegiate athletics

and routinely play in athletic contests live in front of tens or hundreds of

thousands of spectators while simultaneously being broadcast on television

throughout the world.

         15.       In connection with its educational services, athletic events, and

related services, apparel, and merchandise, Illinois has adopted, makes

extensive use of, and owns rights in and to a family of trademarks and trade

dress including, but not limited to, registered and unregistered marks that



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comprise in whole or in part, ILLINOIS, Fighting Illini, Illini,                      ,




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                       and           each alone, and in combination with the colors



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orange and blue (collectively, including the marks also illustrated in Paragraphs

_ through              the "Illinois Marks"). Together with the colors orange and blue,

the Illinois Marks define a consistent and unique trade dress for the University's

products and services.

         16.       Illinois   owns    incontestable   federal   registrations   for   many

trademarks, including, but not limited to some of those listed below.

         17.       The University holds a valid Trademark Registration No. 5,095,860



for the mark "ILLINOIS" or ~~~~~~~~covering "Clothing~ namelY~

jackets, vests, ties, caps, sport caps, visor caps, ski caps, hats, scarves, sweaters,

gloves, mittens, ladies' and men's and children's t-shirts, men's shirts, ladies'

tops, jerseys, sport shirts, golf shirts, basketball shirts, football shirts,

sweatshirts, shorts, socks, warm-up suits, baby sleepers, baby shirts" ("Clothing

and Apparel"). See, Exhibit A.

         18.      The University holds a valid Trademark Registration No. 3,692,259



for the mark "ILLINOIS" or
                                     o~~a~oo~         covering Clothing and Apparel. The

registration also expressly covers assorted merchandise including "[b]asketballs,

foam basketballs, footballs, foam footballs, stuffed toys animals, dolls, golf bags,

golf head covers, golf balls, Christmas tree ornaments and Christmas stockings"

("Sporting Equipment and Toys"). See, Exhibit B.

         19.      The University holds a valid Trademark Registration No. 1,836,231

for "UNIVERSITY OF ILLINOIS LEARNING 8v LABOR CHARTERED 1867




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AGRICULTURE SCIENCE 8s ART" or                         covering Clothing and Apparel.

See, Exhibit C.

         20.      The University holds a valid Trademark Registration No. 2,230,527

for "FIGHTING ILLINI" covering Clothing and Apparel, Sporting Equipment and

Toys, and Educational services. See, Exhibit D.

         21.      The University holds valid Trademark Registration No. 2,232,024 for




the design             ~~"'   (the "Chiefl' logo), covering Clothing and Apparel. See,

Exhibit E. The logo is uniquely associated with the University of Illinois and its

use, particularly in connection with the colors orange and blue and the word

"Illinois," and/or the words "Fighting Illini," uniquely denotes identification with

the University and is codified as such.

         22.      Below are examples of merchandise being sold or offered for sale by

the University or its authorized licensees bearing some of the Illinois Marks and

trade dress:




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         23.       Below are examples of "vintage" apparel that is presently being sold

by authorized licensees of the University and that utilizes the "Chief' logo that is

subject to the valid and incontestable trademark registration discussed above:




         24.      A prospective student or consumer accessing the University's

website at illinois.edu, is first shown a "landing" page like the one below,

emblazoned with blue and orange colors, student-band members clad in the

same colors and depictions of registered and unregistered elements of the

University's unique trade dress including block-letter "I"s and registered "Illinois"

logos, all shown in the tell-tale orange-and-blue color scheme of the University

as shown below:




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         RESEARCH                               CAMPUS LIFE                       RESEARCH

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         nation's first large-scale             LIAC turns zo years               increasingty seepl[~g tnto
         syste[n for direct atr capture,                                          nonpoiltical social situations




           25.            That consistency is not new or accidental, but has instead been the

color scheme of the University for decades. Thus, establishing a consistent and

recognizable trade dress.




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         26.       Each of the foregoing Illinois Marks and examples of Illinois' apparel

and marketing demonstrates that the University uses a unique and distinctive

trade dress for its clothing and apparel, as well as its educational services.

         27.       As a result of Illinois' extensive advertising and promotion of its

goods and services over many years using the Illinois Marks and trade dress,

and through favorable industry acceptance and recognitions, the relevant

consuming public have come to recognize and identify the University as the

source of top-quality goods and services offered in connection with those

trademarks and trade dress.

         28.      Accordingly, the Illinois Marks and trade dress are assets of

incalculable value that are closely identified with the University and that indicate

to the world that the University is the source of the high-quality goods and

services it provides. The University has built extensive goodwill in the Illinois

Marks and trade dress.

  THE INCONTESTABILITY, FAME, AND VALUE OF THE ILLINOIS MARKS

         29.      Pursuant to Section 7(b) of the Lanham Act, 15 U.S.C. ~ 1057(b),

Illinois' federal registration certificates are prima facie evidence of the validity of

the Illinois Marks as well as Plaintiff's ownership and exclusive right to use these

marks in connection with the identified goods and services.

         30.      Many of the Illinois Marks have achieved incontestable status under

Section 15 of the Lanham Act, 15 U.S.C. ~ 1065. See Exhibits A through E.




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         31.       The University consistently and prominently uses and displays the

Illinois Marks in connection with its educational services, athletic events,

clothing and apparel, merchandise, and related goods and services.

         32.      As a result of the extensive sales, advertising, and promotion of

Illinois' goods and services under the Illinois Marks, and through widespread

consumer acceptance and recognition, the consuming public have come to

recognize the Illinois Marks as identifying sources of high-quality products and

services offered by the University.

         33.       Many of the Illinois Marks have been in use and associated with

Illinois and its goods and services for decades. To honor that history, Illinois even

promotes use of certain of its trademark on products that are termed "vintage"

and that are sold separately and in addition to the University's contemporary

designs and styles.

         34.       Many of the Illinois Marks have become famous and are assets of

incalculable value as symbols of the University's quality products and services,

and their extensive goodwill.

                        DEFENDANT'S INFRINGING ACTIVITIES

         35.      Defendant      operates     a     website     at    the     domain

www. vintagebrand.com.

         36.       Through its website, Defendant offers a wide variety of apparel and

other goods featuring college team names, color schemes, insignias, mascots,

logos, and other trademarks and source identifiers.




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          37.      Among the goods offered on Defendant's site, are t-shirts,

sweatshirts, pennants, drinkware, posters, magnets, and puzzles, among many

other items.

          38.      Consumers can find team-branded merchandise by navigating a

series of drop-down menus, or by performing a keyword search for the

team/ school whose gear they are searching for.

         39.       In its drop-down menu displaying "COLLEGE" items, for example,

Defendant lists "Illinois Fighting Illini," clearly conveying to consumers

Defendant's intention to associate the apparel offered for sale as being associated

with the University and associated with its "Fighting Illini" athletic teams.

         40.       Further, under the drop-down menu displaying "COLLEGE" items,

after clicking on "VIEW ALL," Defendant prominently displays a T-shirt with a

registered trademark of the University (with four T-shirts bearing other

university logos flanking), highlighting that merchandise with Illinois Marks is a

centerpiece of Defendant's business as shown below:




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         ~/ Vinlege College Apparel. Jwse>       X     -F                                                                                                                                                                —        ❑        X

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                            !fAGUE$/ COLLEGE 1 TEAAIS




                             COLLEGE VINTAGE DESIGNS
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                             Akrun 21p5                                FIU Pnnthcrs                                MinnnSotd Golden Gophery                     Southern lllinoiS SalUkL^
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                  41.             When a consumer clicks on the "Illinois Fighting Illini" link, they are

shown a page displaying merchandise with Illinois branding as shown below:

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       Apps ~ The Freeway- Home



                                                 VINTAGE              COLLEGE          BASEBALL       FOOTBALL          BASKETBALL       COLLEGE ATHLETES          MORE                       _. .                                1~
                                                      BRAND




                                          ILLINOIS FIGHTING ILLINI VINTAGE DESIGNS                                                                                                                          50~ ,o,~,,;,~

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                                             PRICE                               +                                                                       -~-

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         42.              Moreover, if a consumer searches for "Illinois Fighting Illini," they

will be taken to a page displaying for sale items like those shown below:

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                np0~ O ine irte~rry-Home


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                                               RESULTS FOR "ILLINOIS FIGHTING ILLINI"
                                               TEAMS
                                              Illinois Fighting Illini


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                                              SWEATSHIRTS                                                                                                                                                                 sxow au

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         43.              The categories of products at Defendant's website that are

infringingly emblazoned with Illinois' trademarks and trade dress are extensive,

including what Defendant identifies as "T-SHIRTS," "SWEATSHIRTS," "HATS,"

"KOOZIES," "DRINKWARE," "COASTERS," "POSTERS," "MAGNETS," "CANVAS,"

"ALUMINUM WALL ART," "SOCKS," "PUZZLES," AND "CUTTING BOARDS."

         44.              Defendant purports to offer goods featuring "vintage" sports

branding reproduced from historic memorabilia. Instead, Defendant's products

are simply designed and sold by Defendant using the Illinois Marks and trade

dress or marks and trade dress that are virtually identical to that of the

University and that are a deliberate attempt to take advantage of the tremendous

goodwill associated with the University and the Illinois Marks.




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          45.         Defendant is rather bold about its intention to profit on Illinois'

goodwill, claiming, "The Vintage Brand Illinois Fighting Illini Shop at

VintageBrand.com is the ultimate destination for die-hard Illinois Fighting Illini

fans and alumni." Further, Defendant identifies the designs depicted on the

pages as "ILLINOIS FIGHTING ILLINI VINTAGE DESIGNS."

         46.          Representative examples of infringing goods using the Illinois Marks

displayed on Vintage's website include:




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         47.         Defendant has used the Illinois Marks on their apparel by creating

various designs that copy, embody, or otherwise mimic the Illinois Marks

(collectively, the "Infringing Designs").




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          48.      In no instance has Defendant ever sought or received any license to

make, use, or sell any of the trademarks or trade dress embodied in the

merchandise bearing the Illinois Marks that Defendant is marketing and selling

at its website and the University does not itself make or sell the items sold on

that website.

         49.       Thus, Defendant markets and sells without authorization a wide

variety of apparel and other items featuring designs that are identical to the

Illinois Marks and the University's trade dress.

         50.       Long after many of the Illinois Marks had become famous in the

United States, Defendant began using these copied and/or confusingly similar

marks in an obvious attempt to ride on the coattails of the University's fame and

to improperly trade on the goodwill that the University has worked so hard to

build in its distinctive brand.

         S1.       Defendant has used the Infringing Designs in U.S. commerce by

marketing and selling their merchandise, including on and through Defendant's

website.

         52.      Upon information and belief, Defendant had full knowledge of the

University's rights and the Illinois Marks from the very first use of the Infringing

Designs.

         53.      The Infringing Designs are direct copies of the University's

trademarks and/or trade dress and/or are confusingly similar when viewed,

thus giving a commercial impression that is also confusingly similar.




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          54.       For example, Defendant infringingly uses the words "Fighting Illini"

that are the subject of a valid and incontestable federal trademark registration

as discussed above, for instance, on the following Infringing Designs:


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                                         ~~




          55.      Moreover, Defendant infringingly uses a seal on its Infringing

Designs that is confusingly similar to the University's official seal which is

protected by a valid and incontestable federal trademark registration, as

demonstrated below:

            Illinois Marks)                    Examples of Infringing Designs


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          56.      Defendant further infringingly uses the "Chief" logo which is also

protected by a valid and incontestable federal trademark registration on a variety

of Infringing Designs available for sale at its website as depicted below:

            Illinois Marks)                    Examples of Infringing Designs




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         57.       Moreover, Defendant infringingly uses the stylized word "Illinois"

which is protected by a valid and incontestable federal trademark registration on

Infringing Designs available for sale at its website as depicted below:

            Illinois Marks)                    Examples of Infringing Designs




         58.      The goods offered for sale by Defendant using the Infringing Designs

are directly competitive with the goods offered by Plaintiff under its Illinois

Marks.




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          59.      The University did not authorize Defendant's use of the Illinois

Marks in the Infringing Designs.

          60.      The Infringing Designs are either direct copies or so closely resemble

the Illinois Marks that, when used in connection with Defendant's goods, they

are highly likely to cause confusion, mistake, or deception amongst consumers

and others in the relevant trade. Consumers will likely be led to believe that

Defendant's goods are in some way associated with, connected with, approved

by, sponsored by, and/or authorized by Illinois, when that is not the case.

         61.       Defendant's Infringing Designs are counterfeits of the Illinois Marks,

as defined in 15 U.S.C. ~ 1116(d).

         62.       The Infringing Designs also so closely resemble the Illinois Marks

and/or imply association with the University that, when used in connection with

Defendant's goods, they are likely to cause dilution by blurring the University's

famous Illinois Marks. Due to the close similarity between the Illinois Marks and

the Infringing Designs, consumers will likely associate Defendant and/or

Defendant's goods with the University's goods and services, which will impair

the distinctiveness of the University's famous Illinois Marks.

                                          C`AiTNT T

                            Federal Trademark Infringement
                        (Lanham Act § 32(1), 15 U.S.C. § 1114(1))

         63.      The University re-alleges and incorporates herein by reference

paragraphs 1-62 above as if fully stated herein.




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         64.       The       University   holds valid      and   existing      federal   Trademark


Registration No. 5,095,860 for the mark "ILLINOIS" or ~~~~~0~~ and

has continuously used the mark since at least April 2014.

         65.       The       University   holds valid      and   existing      federal   Trademark



Registration No. 3,692,259 for the mark "ILLINOIS" or
                                                                     a~~oaoo~              and has

continuously used the mark since at least December 1994.

         66.      The        University   holds    valid   and   existing federal        Trademark

Registration No. 1,836,231 for the mark "UNIVERSITY OF ILLINOIS LEARNING

8v LABOR CHARTERED 1867 AGRICULTURE SCIENCE 8v ART" and design




                       and has continuously used the marks since at least September

1991.

         67.      The        University   holds    valid   and   existing     federal    Trademark

Registration No. 2,230,527 for "FIGHTING ILLINI" and has continuously used

the mark since at least December 1994.

         68.      The        University   holds    valid   and   exiting      federal    Trademark

                                                                      t"

                                                                            r ~,'t~~

                                                                             ~=

Registration           No.    No. 2,232,024       for the design        `~''              and has

continuously used the mark since at least 1994.




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         69.      The University owns, has the exclusive right to use, and actively

uses the Illinois Marks and its related trade dress and has not, in any way,

authorized Defendant to use or to exploit the Illinois Marks and/or its trade

dress.

         70.       Defendant   has   marketed,    advertised,   and   sold   products

incorporating the Illinois Marks and Illinois' trade dress through Defendant's

website accessible throughout the United States and in the State of Illinois.

         71.       Defendant's acts have caused, or are likely to cause, confusion,

mistake, or deception, and it is likely that the public will mistakenly believe that

Defendant's apparel and other products have their source or origin with the

University of Illinois or that Defendant's products are in some manner approved

by, associated with, sponsored by, or connected with the University, all in

violation of 15 U.S.C. ~~ 1114 et. seq.

         72.      Upon information and belief, Defendant's actions were undertaken

willfully, and with the intent to confuse and deceive the public.

         73.      Defendant's acts have damaged, or may damage, the University's

business, reputation and goodwill and have interfered, or may interfere, with the

University's use of the Illinois Marks and its trade dress.

         74.      Defendant has caused, and unless enjoined will continue to cause,

irreparable harm and injury to the University for which there is no adequate

remedy at law.

         75.      Pursuant to 15 U.S.C. ~ 1116, Defendant should be preliminarily

and, upon final hearing permanently, enjoined from using the Infringing Designs




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or variants thereof, or otherwise infringing on the Illinois Marks or the

University's trade dress.

         76.       Pursuant to 15 U.S.C. ~ 1117, the University is entitled to recover

from Defendant:

                   a.     All profits received by Defendant from its use of the Infringing
                          Designs;

                   b.     Actual damages sustained by Illinois due to Defendant's use
                          of the Infringing Designs;

                   c.      Exceptional damages (including trebling) for intentional
                           infringement, bad faith, and willful conduct, equal to three
                           times profits or damages, whichever is greater;

                   d.     An order, pursuant to 15 U.S.C. ~ 1118 compelling Defendant
                          to destroy all materials bearing the Infringing Designs or
                          variants thereof;

                   d.     All costs of this action, including attorneys' fees, interest;
                          and/or

                   e.     statutory damages under 15 U.S.C. ~~ 1114, 1116, and 1117.

                                         COUNT II
                                Trademark Counterfeiting
                        (Lanham Act § 35, 15 U.S.C. § 1117(bj and (c))

         77.      The University re-alleges and incorporates herein by reference

paragraphs 1-76 above.

         78.      The University owns valid and existing rights in and to the Illinois

Marks.

         79.      Defendant uses in interstate commerce marks that are identical with

and/or substantially indistinguishable from the Illinois Marks in connection with

Defendant's promotion and sale of Defendant's apparel and other goods.




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         80.       Defendant's unauthorized use of the Infringing Designs is likely to

cause confusion and mistake among consumers and others as to the source, origin or

sponsorship of Defendant's products sold using the Infringing Designs.

         81.       Defendant's unauthorized use of the Infringing Designs is a knowing,

willful, and intentional violation of the University's rights.

         82.       Defendant intentionally used the Infringing Designs knowing that the

Infringing Designs are counterfeits of the Illinois Marks.

         83.       Defendant's conduct constitutes willful counterfeiting pursuant to 15

U.S.C. §§ 1116(d) and 1117(b) and (c).

         84.      By reason of the foregoing, Illinois is entitled to recover Defendant's

profits and/or actual damages, trebled, reasonable attorneys' fees, and prejudgment

interest, and/or statutory damages for each counterfeit mark or design used.

                                       COUNT III
                              Federal Trademark Dilution
                        (Lanham Act § 43(c), 15 U.S.C. § 1155(c))

         85.      The University re-alleges and incorporates herein by reference

paragraphs 1-84 above.

         86.      Illinois owns valid and existing rights in and to the Illinois Marks.

         87.      Through long-standing and continued use, product and service

promotion, and widespread consumer recognition, many of the Illinois Marks have

become famous. Long after those Illinois Marks became famous, Defendant began

using (and is still using) the Infringing Designs on their similar apparel and goods.


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         88.       In so doing, Defendant is improperly creating a false association

between their unauthorized products and the University and/or the Illinois Marks.

This association is likely to cause a dilution of the strong goodwill that the University

has built in the Illinois Marks, in violation of 15 U.S.C. § 1125(c).

         89.       Further, Defendant's acts constitute dilution by blurring of the

University's famous Illinois Marks in violation of 15 U.S.C. § 1125(c).

         90.       As a result of Defendant's wrongful and intentional conduct, Plaintiff

has been damaged and will continue to be damaged in an amount to be determined

at trial.

         91.       Defendant's unauthorized use of the Infringing Designs is knowing and

willful and with the intent to trade on the substantial goodwill Illinois has established

in the Illinois Marks.

         92.      Unless enjoined, Defendant's behavior will continue and will continue

to cause Illinois to suffer irreparable harm for which there is no adequate remedy at

law. Plaintiffs are therefore entitled to injunctive relief.

         93.      Plaintiffs have been harmed by Defendant's unauthorized use of the

Infringing Designs and are entitled to monetary relief.

                                       COUNT IV
                               False Designation of Origin
                        (Lanhaan Act § 43(a), 15 iJ.3.C. § 1125~a))




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         94.       The University re-alleges and incorporates herein by reference

paragraphs 1-93 above.

         95.       Illinois uses and owns the Illinois Marks in connection with the sale of,

among other things, apparel and merchandise, and educational services. The Illinois

Marks are inherently distinctive and/or have acquired secondary meaning as a

designation of source for the University.

         96.       In connection with its promotion and sale of its own apparel and

merchandise, Defendant uses in interstate commerce the Infringing Designs.

         97.      Defendant's use of the Infringing Designs is likely to cause confusion

and mistake and to deceive consumers and others as to the origin, sponsorship or

affiliation of the parties' products.

         98.      Consumers seeing apparel and merchandise sold displaying the

Infringing Designs in the marketplace are likely to believe those products are

sponsored by, associated with, authorized by, or otherwise affiliated with the

University, when they are not.

         99.      Defendant's use of the Infringing Designs constitutes false designation

of origin in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

         100. Defendant's use of the Infringing Designs is a knowing, willful, and

intentional violation of Illinois' rights.




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          101. Defendant's acts of false designation of origin, unless restrained, will

cause great and irreparable harm to Plaintiffs and to the significant goodwill

represented by the Illinois Marks, in an amount that cannot be ascertained at this

time, leaving Plaintiff with no adequate remedy at law.

         102. By reason of the foregoing, the University is entitled to injunctive relief

against Defendant, restraining it from any further acts of false designation of origin,

and are also entitled to recovery of Defendant's profits, actual damages, enhanced

profits and damages (including trebling), costs, and reasonable attorneys' fees under

15 U.S.C. §§ 1116, 1117, and 1125.

                                    COUNT V
                 Illinois Trademark Infringement and Dilution
                              (?65 ILCS 1036/60)
         103. The University re-alleges and incorporates herein by reference

paragraphs 1-102 above.

         104. This cause of action arises under Illinois' Trademark Registration

and Protection Act, 765 ILCS 1036, et seq.

         105. Defendant's use of the Infringing Designs constitutes trademark

infringement in violation of ~ 60 of that statute because Defendant has used,

without the University's consent, reproductions, counterfeits, copies, and

colorable imitations of the Illinois Marks by using the Infringing Designs on the

clothing and apparel and other products that Defendant has been selling.

Defendant has also applied the Infringing Designs to labels, signs, and prints in

violation of the statute.




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         106. Defendant's use of the Infringing Designs is likely to cause confusion

or mistake or to deceive the public as to the source of origin of the apparel and

goods marketed and/or sold be Defendant using the Infringing Designs.

         107. Defendant's use of the Infringing Designs was done with knowledge

that its imitation was intended to cause confusion, or to cause mistake, or to

deceive.

         108. Because the University is one of the premier universities in the State

of Illinois and, as discussed above, the Illinois Marks have attained fame and

general recognition throughout the State, and the Illinois Marks are famous in

the State of Illinois within the meaning of 765 ILCS 1036/65.

         109. Defendant's conduct, as described herein, is diluting and will dilute

the Illinois Marks, thereby lessening the capacity those marks to identify and

distinguish goods and services marketed and sold by Illinois under the Illinois

Marks.

         110. Defendant's acts of trademark dilution were undertaken with willful

intent to trade on Illinois' reputation and goodwill, and/or to cause dilution of

Illinois' famous marks.

         111. Defendant's acts have caused injury and damage to Illinois, and

have caused irreparable harm to Illinois' goodwill and reputation and, unless

enjoined, will cause further irreparable injury such that Illinois has no adequate

remedy at law.

         112. As a result of Defendant's infringing and diluting conduct, the

University is entitled to:




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         a. an injunction preventing Defendant from making, using, displaying,
            and/or selling products using the Infringing Designs or any variants
            thereof;

         b. an award of all profits derived from Defendant's sale of products using
            the Infringing Designs;

         c. actual damages suffered by the University;

         d. an order compelling Defendant to collect and deliver to the Court or to
            Plaintiff for destruction all goods displaying the Infringing Designs;

         e. trebling of the amount of the profits and damages awarded; and

         f. an award of reasonable attorneys' fees and costs.
                                        (`AiiNT Vi

            Violation of Illinois' Uniform Deceptive Trade Practices Act
                                (815 ILCS 510, et seq.)

         113. The University re-alleges and incorporates herein by reference

paragraphs 1-112 above.

         114. The University owns, has the exclusive right to use, and actively

uses the Illinois Marks and the Uiversity's trade dress in the United States and

in Illinois.

         115. As alleged herein, Defendant has, without consent or authorization

from the University, used and continues to use the Infringing Designs on its

clothing and apparel and other products that are sold in interstate commerce,

including in the State of Illinois.

         116. The      similarity   between    Defendant's products displaying the

Infringing Designs and the Illinois Marks and trade dress is so great as to be

likely to cause confusion, mistake, or deception as to the source or origin of

Defendant's products in that the public and other are likely to believe that




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Defendant's products are manufactured by, promoted by, sponsored by,

approved by, licensed by, affiliated with, or in some other way connected with

the University and its renowned Illinois Marks and trade dress.

         117. Defendant's unauthorized use of the Illinois Marks and the

University's trade dress in the Infringing Designs and Infringing Works are

confusingly similar to the University's distinct and well-known Illinois Marks and

trade dress and constitutes deceptive trade practices under 815 ILCS 510/ 1, et

seq. because Defendant is (a) passing off goods as those of another, (b) causing

likelihood of confusion or of misunderstanding as to the source, sponsorship,

approval, or certification of its goods, (c) causing likelihood of confusion or of

misunderstanding as to affiliation,         connection,   or association with or

certification by another, (d) representing that its goods have sponsorship,

approval, characteristics, benefits, or quantities that they do not have or that

Defendant has a sponsorship, approval, status, affiliation, or connection that it

does not have, and/or (e) otherwise engaging in conduct which creates a

likelihood of confusion or misunderstanding.

         118. Due to the unfair nature of Defendant's actions, Defendant has

caused, and unless enjoined by this Court, will continue to cause, serious and

irreparable injury and damage to Illinois, for which Illinois has no adequate

remedy at law.

         119. Defendant's actions demonstrate an intentional, willful, and

malicious intent to trade on the goodwill associated with the Illinois Marks and

trade dress, thus entitling the University to injunctive relief and to recover



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Defendant's profits, actual damages, enhanced profits and damages, costs, and

attorneys' fees.

                                    COUNT VII
                                Unfair Competition

         120. The University re-alleges and incorporates herein by reference

paragraphs 1-119 above.

         121. Defendant's use of Infringing Designs and the solicitation of

customers in competition with the University deprive the University of sales of

merchandise or other prospects. In addition, Defendant's actions are likely to

cause confusion, to cause mistake, or to deceive the public as to the affiliation,

connection, or association of Defendant with the University, or as to the origin,

sponsorship, or approval of Defendant's products or commercial activities by the

University.

         122. Defendant's conduct constitutes unfair competition in violation of

Illinois common law.

         123. Defendant's acts of common law unfair competition have been done

willfully and deliberately, and Defendant has profited and been unjustly enriched

by sales that Defendant would not otherwise have made if not for its unlawful

conduct.

         124. Defendant's willful and deliberate acts, as described above, have

caused injury and damage to Illinois, and have caused irreparable injury to

Illinois' goodwill and reputation and, unless enjoined, will cause further

irreparable injury leaving the University with no adequate remedy at law.

                              REQUEST FOR RELIEF


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     WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

         A. Adjudicating and decreeing that Defendant has infringed Illinois'
            trademark rights in the Illinois Marks and its trade dress.

          B. Adjudicating and decreeing that Defendant has counterfeited the
             Illinois Marks.

         C. Adjudicating and decreeing that Defendant has diluted the Illinois
            Marks.

          D. Adjudicating and decreeing that Defendant has created a false
             association with the University.

         E. Preliminarily and permanently enjoining and restraining Defendant, its
            directors, members, officers, agents, servants, employees, parents,
            subsidiaries, affiliates, and all persons in active concert or participation
            with, through, or under Defendant, at first during pendency of this
            action and thereafter perpetually:

                 i.    from committing any acts of trademark infringement, trademark
                       dilution, deceptive trade practices, unfair competition, and/or
                       conversion, and from implying a false designation of origin or a
                       false description ox representation with respect to the Illinois
                       Marks;

                ii.    from using in any manner packaging, labels, signs, literature,
                       display cards, Internet websites, or other packaging, advertising,
                       promotional materials, or other materials using the Infringing
                       Designs or any other marks, words, names, or designs that are
                       confusingly similar thereto;

               iii.    from making any statements on promotional materials or
                       advertising for its goods or services that are false or misleading
                       as to the source or origin or affiliation with, sponsorship by, or
                       connection to Illinois; and

               iv.     from using any designation that is likely to tarnish, blur, or dilute
                       the distinctive quality of the Illinois Marks.

         F. Requiring that Defendant deliver to the University or the Court any and
            all materials, including apparel and products which in any way
            unlawfully use or make reference to the infringed Illinois Marks or trade
            dress.

         G. Requiring that Defendant, within thirty (30) days after service of notice
            of entry of judgment or issuance of any injunction, file with the Court



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              and serve upon the University's counsel a written report under oath
              setting forth details of how Defendant has complied with the Court's
              order as outlined in E and F above.

          H. Awarding damages to the University as a result of Defendant's willful
             infringement and unfair competition in an amount including awards
             for the University's actual damages and/or Defendant's profits,
             disgorgement of ill-gotten gains achieved by Defendant, and the
             University's attorneys' fees and costs, to be trebled pursuant to
             applicable State and Federal laws.

         I. Requiring Defendant to pay statutory damages per Infringing Design
            and type of good sold, offered for sale, or distributed in accordance with
            15 U.S.C. ~ 1117(c).

         J. Awarding the University its attorneys' fees and costs along with pre-
            and post judgment interest on all amounts awarded against Defendant.

         K. Award Plaintiff such other and further relief as this Court deems just
            and proper under the circumstances.

                                                 Respectfully submitted,

                                                 THE BOARD OF TRUSTEES FOR THE
                                                 UNIVERSITY OF ILLINOIS



                                                 By: mss/ David S. Becker
                                                      One of Its Attorneys

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 Dated:                December 7, 2021




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